               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                 1:08 CR 45


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )            ORDER
                                              )
ALEN WAYNE SMITH,                             )
                                              )
                  Defendant.                  )
________________________________________      )


      THIS CAUSE coming on to be heard before the undersigned, pursuant to a

Motion to Continue (#28) the arraignment of the defendant in this matter scheduled

for May 12, 2008 filed by defendant’s counsel, Jack W. Stewart. It appearing that

Mr. Stewart has filed a Notice of Appearance certifying that he is going to be

representing the defendant in this matter. It appears that good cause has been shown

for the granting of said motion. On May 19, 2008 Mr. Stewart appeared on behalf of

the defendant and requested a further continuance of the arraignment because Mr.

Stewart had been in trial during the week of May 12th and unable to contact the

defendant to tell him of the scheduled date of the arraignment. For good cause further

shown the arraignment will be continued until June 2, 2008.

                                      ORDER

      IT IS, THEREFORE, ORDERED that defendant’s Motion to Continue (#28)

is hereby GRANTED and that arraignment in this matter is continued until June 2,


       Case 1:08-cr-00045-MR      Document 35     Filed 05/21/08    Page 1 of 2
2008.




                                      Signed: May 21, 2008




                                      2


        Case 1:08-cr-00045-MR   Document 35   Filed 05/21/08   Page 2 of 2
